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*NOT FOR PUBLICATION*

                            UNITED STATES DISTRICT COURT
                                 DISTRICT OF NEW JERSEY
____________________________________
                                    :
UNITED STATES OF AMERICA,           :
                                    :
                  Plaintiff,        :
                                    :                         3:13-cr-00684 (FLW)
v.                                  :
                                    :                             OPINION
MYKAL HALL                          :
                                    :
                  Defendant.        :
____________________________________:


WOLFSON, United States District Judge:

       Presently before the Court is the Motion of Mykal Hall (“Defendant”), to dismiss Count

II of the Superseding Indictment for violation of the Speedy Trial Act, specifically 18 U.S.C. §

3161(b). It is undisputed that a violation of the Act has occurred, and this Court has already ruled

that Count II shall be dismissed. After considering all of the factors enumerated in 18 U.S.C. §

3162(a)(1) along with the prejudice to the defendant potentially caused by the delay, I find that

Count II shall be dismissed without prejudice.



I. BACKGROUND

       Defendant was arrested on July 8, 2013, on a criminal complaint charging him with one

count of assaulting a person having custody of United States property, with intent to rob, in

violation of 18 U.S.C. § 2114. Defendant has been detained continuously since the time of arrest.

On July 23, 2013, 15 days before the 30-day clock for the Speedy Trial Act had run, R. Joseph

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Gribko, the Assistant United States Attorney assigned to the case, and then Defense Counsel

Joshua Markowitz orally agreed to exclude time under the Speedy Trial Act until October 10,

2013. Mr. Gribko prepared a written “Continuance Order,” which, due to inadvertence on the

part of the United States Attorney’s Office, was never filed with the Court. Sometime in mid-

October, after the time allowed for in the “Continuance Order” had run, but still over a week

before the expiration of the 30-day Speedy Trial Act clock, Mr. Gribko again reached out to

Defense Counsel to secure another continuance for the purposes of plea negotiation. This time

however, Defense Counsel indicated that Defendant would not agree to any further continuances.

The Government, acting under the impression that the original “Continuance Order” had

effectively tolled the Speedy Trial clock from July 23 to October 10, brought Defendant’s case

before a Grand Jury on October 17, 2013, approximately eight days before what would have

been the expiration of the 30-day period.

       The Grand Jury returned a two-count Indictment on October 17, 2013, charging

defendant in Count I with assault with intent to rob property of the United States in violation of

18 U.S.C. §§ 2114 and 2 (the only offense originally charged in the Complaint), and in Count II

with use of a firearm in relation to a crime of violence in violation of 18 U.S.C. §§

924(c)(1)(a)(ii) and 2. Because no continuance order was ever entered in this case, Count I of the

Indictment was filed 101 days after Defendant’s July 8 arrest. Accordingly, the time allowed for

by the Speedy Trial Act was exceeded by 71 days. The Grand Jury returned a Superseding, three-

count Indictment in this case on December 12, 2013, charging Defendant in Count I with

engaging in the business of dealing firearms without a license in violation of 18 U.S.C. §§

922(a)(1)(A) and 2, in Count II with assault with intent to rob property of the United States in

violation of 18 U.S.C. §§ 2114 and 2 (formerly Count I of the Indictment), and in Count III with



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use of a firearm in relation to a crime of violence in violation of 18 U.S.C. §§ 924(c)(1)(a)(ii)

and 2 (formerly Count II of the Indictment). Defendant moved to dismiss all counts in the

Superseding Indictment based upon a violation of the Speedy Trial Act.



II. PROCEDURAL HISTORY

       At a hearing held before the Court on March 25, 2014, the Court heard argument from the

parties and, for the reasons stated on the record, denied Defendant’s Motion to Dismiss Counts I

and III of the Superseding Indictment.1 The Court also ruled that Count II of the Superseding

Indictment would be dismissed, but reserved decision on whether dismissal would be with

prejudice. Defendant and the Government filed supplemental briefing on the issue of prejudice

on April 8, 2014.



III. STANDARD OF REVIEW

       In relevant part, the Speedy Trial Act, 18 U.S.C. § 3161(b) provides:

       (b) Any information or indictment charging an individual with the commission of an
       offense shall be filed within thirty days from the date on which such individual was
       arrested or served with a summons in connection with such charges.

       “In deciding whether to dismiss an indictment with or without prejudice, a court

considers (1) the seriousness of the charge, (2) the facts and circumstances leading to dismissal,

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 The Speedy Trial Act requires the dismissal of only those charges in the indictment that were
also made in the complaint that triggered the Act’s thirty-day time period (limiting the time
allowable between arrest and indictment). See United States v. Oliver, 238 F.3d 471, 473 (3d
Cir. 2001). Charges made in the indictment are different than those in the complaint if they are
brought under the same statute, but for different conduct (See United States v. Cox, 12-3907,
2014 WL 306973, *5 (3d Cir. Jan. 29, 2014)) or under different statutes, but for the same
conduct (See United States v. Watkins, 339 F.3d 167, 173 (2003)). Because Counts I and III of
the Superseding Indictment were not contained in the Complaint, alleged violation of a different
statute in the case of Count I, and alleged different conduct in Count III, their inclusion in the
indictment did not violate the Act. See discussion on 3/25/2014 record.
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(3) the effect of reprosecution on [the] administration of the Speedy Trial Act and [of] justice,

and (4) prejudice to the defendant.” Cox, 2014 WL 306973 at *5. The first three factors are laid

out in 18 U.S.C. § 3162(a)(1). The fourth and final factor was imposed upon the district courts

by the Supreme Court’s decision in United States v. Taylor, 487 U.S. 326, 334 (1988).



IV. DISCUSSION

   A. Seriousness of the Offense

       Considering the first of the § 3162(a)(1) factors, assault with intent to rob is a serious

offense. It carries a statutory maximum sentence of up to twenty-five years in prison. 18 U.S.C. §

2114(a). Additionally, in this case the Defendant is charged with the gun-point robbery of a

confidential informant working for the FBI. Lastly, I note that Defendant concedes that all of the

charges against Defendant are serious offenses. [Defendant’s Brief at 5].

   B. Facts and Circumstances Leading to the Violation

       Moving on to the second of the § 3162(a)(1) factors, the facts and circumstances leading

to the violation of the Speedy Trial Act in this case are not in dispute. On July 23, 2013,

Assistant United States Attorney R. Joseph Gribko and then defense counsel Joshua Markowitz

orally agreed to exclude time under the Speedy Trial Act until October 10, 2013, in order to

engage in the plea bargaining process. The Government prepared a written “Continuance Order,”

which was forwarded to the offices of defense counsel Markowitz. While it is unclear from the

record what subsequently happened to the written “Continuance Order,” former defense counsel

Markowitz represented to the Court that he agreed to the “Continuance Order,” and AUSA

Gribko represented that the “Order” was likely misplaced due to inadvertence on the part of the

Government. In any event, no continuance was ever entered by the Court.



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       The Speedy Trial Act explicitly allows for continuances “at the request of the defendant

or his counsel.” 18 U.S.C. § 3161(h)(7)(A). In a recent unreported decision, the Third Circuit

went so far as to suggest that the defendant “cannot validly complain his statutory speedy trial

rights were violated when his counsel requested and consented to the continuance order.” United

States v. Mayfield, 361 Fed. Appx. 425, 428 (3d Cir. 2010). The Court in Mayfield relied upon

its earlier decision in United States v. Fields, 39 F.3d 439, 443 (3d Cir. 1994), in which the

circuit court found the defendant’s Speedy Trial Act arguments “disturbing because he would

have [the court] order the dismissal of his indictment based on continuances that his own

attorney sought . . .” The Court opined that “[r]ejection of the defendant’s arguments might be

justified on this ground alone.” The clear difference between the facts in the present case and

those in Mayfield and Fields, however, is that the continuance to which Mr. Hall’s former

counsel consented was never actually entered by the Court. Still, I find the logic of the Third

Circuit opinions instructive, and conclude that the consent of Defendant’s former counsel to the

continuance weighs against dismissal with prejudice, although not nearly as strongly as if the

continuance had actually been entered.

   C. Impact of Reprosecution on the Administration of the Act and of Justice

       Considering the third of the § 3162(a)(1) factors, I find that reprosecution in this case will

not have an adverse impact on the administration of the Speedy Trial Act or of justice. Defendant

rightly observes that dismissal of charges under the Speedy Trial Act is meant to send a message

to law enforcement with the goal of “induc[ing] salutary changes in [their] procedures [and]

reducing pretrial delays,” and that “dismissal with prejudice always sends a stronger message

than dismissal without prejudice.” Taylor, 487 U.S. at 342. The Government argues, however,

that no messaging function would be served in this case, because the Government’s failure to



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either enter an indictment or continuance in the 30-day period provided by the Act was the result

of an uncharacteristic oversight. The Government argues that this distinguishes Mr. Hall’s case

from that of United States v. Watkins, in which the Third Circuit upheld the dismissal of some

charges with prejudice after observing that the Government engaged in “gamesmanship” and a

procedural “run-around.” 339 F.3d at 171.

       I agree with the Government that given the obviously inadvertent nature of the

Government’s failure to file the continuance to which defense counsel had already agreed, and

the absence of any information indicating a pattern of negligence in the handling of

continuances, neither the administration of justice nor of the messaging function of the Speedy

Trial Act would be served by a dismissal with prejudice in this case. In other words,

reprosecution after an isolated incident of government inadvertance will have little impact upon

the administration of the Act and of justice. This factor too weighs against dismissal with

prejudice. See Gv’t of the Virgin Islands v. Francis, 98 F.R.D. 626, 632 (3d Cir. 1983) (noting

that where nothing was presented to the Court to indicate that the Government’s failure to timely

file the information or indictment was more than mere negligence there would be little or no

adverse impact on the administration of the Act or on the administration of justice should the

defendant be reprosecuted).

   D. Prejudice to the Defendant

       The final factor in considering Defendant’s Speedy Trial claim is also the most difficult

to weigh. Defendant devoted the majority of his arguments in briefing, and this Court devoted a

large part of its consideration, to the factor of prejudice. A violation of the Speedy Trial Act may

give rise to prejudice to the defendant in either or both of two ways. The violation may 1)




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prejudice the preparation of defense and/or 2) prejudice the Defendant by restricting his liberty.

United States v. Taylor, 487 U.S. 326, 340 (1988).

        Defendant does not argue any prejudice to the preparation of the defense, nor does the

Court now find any. He focuses exclusively on his deprivation of liberty during the 71-day

period after the expiration of the Act’s 30-day period in which to charge and before the issuance

of the October 17 indictment. It is true that “[t]he length of delay, a measure of the seriousness of

the speedy trial violation, in some ways is closely related to the issue of prejudice to the

defendant. The longer the delay, the greater the presumptive or actual prejudice to the defendant,

in terms of his ability to prepare for trial or the restrictions on his liberty.” United States v.

Taylor, 487 U.S. 326, 340 (1988). The Government initially only briefly responded to

Defendant’s allegations, arguing that Defendant suffered no prejudice because he “has been

incarcerated since the date of his arrest and will continue to be incarcerated even if the charge is

dismissed, as Counts One and Three of the Superseding Indictment should not be dismissed.”

[Government’s Brief, I(4)]. I found on the record that this argument was inapplicable to the

question of prejudice, because it addressed only the period of deprivation of the Defendant’s

liberty following the issuance of an additional charge in the first Indictment, not the 71 days

spent post-arrest and pre-indictment that are the subject of Defendant’s Motion.

        There is no hard and fast rule in the Third Circuit or this District concerning how many

days of post-arrest and pre-indictment delay give rise to a presumption of prejudice weighing in

favor of Defendant on a motion to dismiss for violation of the Speedy Trial Act. Violations of

only a few days are routinely found not to give rise to any prejudice. See United States v. Cox,

12-3907, 2014 WL 306973 (3d Cir. Jan. 29, 2014) (two to four day delay did not give rise to

prejudice); Gov’t of the Virgin Islands v. Francis, 98 F.R.D. 626, 631 (3d Cir. 1983) (Where “the



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offenses involved, as admitted by the defense, are serious[,] [t]he delay of three days . . . is not

correspondingly serious to require a dismissal with prejudice.”). Violations of several weeks or

months have been found, in some circumstances, to give rise to prejudice. See United States v.

Watkins, CR.A. 02-120-1, 2002 WL 32351114 (E.D. Pa. Mar. 12, 2002) rev’d in part aff’d in

part 339 F.3d 167 (3d Cir. 2003) (40-day delay, along with accompanying circumstances,

prejudiced defendant); United States v. Martinez, 75 F. Supp. 2d 360, 367 (1999) (“the

Government’s violation of the Speedy Trial Act totaled 270 days, more than eight months. That

delay mandates a dismissal with prejudice.”). Because of the difficulty in discerning the potential

prejudice arising from the length of delay alone, I reserved decision and requested supplemental

briefing from the parties.

       Defendant bolsters his argument with many of the same contentions he presented

initially, but supports them with additional precedent. The authorities identified by Defendant

explain that “‘[t]ime spent in jail awaiting trial has a detrimental impact on the individual’ which

could include loss of employment, disruption of family life, and idle time with little recreation or

rehabilitation” [Defendant’s Supplemental Letter Brief, 2] (citing Barker v. Wingo, 407 U.S.

514, 530-33 (1972)); that “[o]ppressive pretrial detention may be based on the conditions of

incarceration” id. (citing Hakeem v. Beyer, 990 F.2d 750, 761 (3d Cir. 1993)); and that pretrial

delays exceeding a year routinely give rise to the presumption of prejudice, with the presumption

growing stronger the more outrageous the length of the delay, see, e.g., id. (citing United States

v. Battis, 589 F.3d 673, 682 (3d Cir. 2009)). What Defendant’s supplemental briefing does not

provide is any assertion that Mr. Hall actually experienced a loss of employment, disruption of

family life, or oppressive conditions of detention. Moreover, Defendant certainly cannot allege

that the violation of the Act in this case breached the presumptive threshold of one year. The



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delay in this case was a week past two months, not at all comparable to the forty-five month,

presumptively prejudicial delay in Battis.

         The Government’s supplemental submission reflects little more success than the Court’s

own inquiry into identifying the temporal boundary line between pre-indictment delays which

give rise to prejudice and those that do not. The Government has, however, identified a single

district court case from this Circuit in which the judge dismissed a count from the indictment

without prejudice following a delay of 75 days, after determining that the accompanying

circumstances evidenced neither willful conduct nor bad faith on the part of the Government.

United States v. Archer, 984 F. Supp. 321 (D. Pa. 1997). The analysis in Archer, especially as it

concerns the defendant’s liberty interest in not being held without indictment, is rather

perfunctory, but the facts and circumstances are very closely analogous to those now before the

Court.

         After considering the substantial body of available precedent, along with the arguments

of the parties, I am persuaded that the 71-day delay post-arrest and pre-indictment in this case

did not prejudice the defendant. While Defendant identified many “plus factors” that could tip

the scales in favor of a finding of prejudice, including impact upon family, career, or physical

integrity while incarcerated, no facts were alleged to show that Defendant actually experienced

any of these issues in this case. The Government has shown that in at least one other similar case,

dismissal without prejudice was found to be the appropriate remedy. It is, however, a decision of

the Third Circuit cited by Defendant which most strongly influences my finding. In Hakeem v.

Beyer, the Circuit Court found that even thirteen or fourteen and one-half months of pretrial

incarceration did not rise to the level of “per se oppressive pretrial delay.” 990 F.2d at 762.

Having fallen short of the threshold for per se prejudice, the defendant in Hakeem could not



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prove prejudice without a showing of “loss of employment, disruption of family life, or

excessive mental anguish resulting from his pre-trial imprisonment.” Id. The Circuit Court

concluded that the defendant “cannot prevail merely by claiming that fourteen and one-half

months of anxiety over the outcome of the trial has prejudiced him to the extent necessary to

prevail on a Sixth Amendment claim. Vague allegations of anxiety are insufficient to state a

cognizable claim.” Id. While the loss of freedom for 71 days of Mr. Hall’s life presents a not

inconsiderable infringement of the liberty interest protected by the Speedy Trial Act and the

Constitution, in the absence of any circumstances showing actual instances of harms, it is not

enough to give rise to per se prejudice from the length of the delay alone.



CONCLUSION

       In sum, after considering the facts presented and the arguments of the parties surrounding

the dismissal of Count II of the Superseding Indictment, I find that the first three § 3162(a)(1)

factors weigh strongly against dismissal with prejudice. The fourth and final factor also weighs

against dismissal with prejudice, albeit less strongly. Accordingly, I dismiss Count II of the

Superseding Indictment without prejudice. In reaching my conclusion I am guided by the

Supreme Court’s holding in Taylor that “[d]ismissal without prejudice is not a toothless sanction:

it forces the Government to obtain a new indictment if it decides to reprosecute, and it exposes

the prosecution to dismissal on statute of limitations grounds. Given the burdens borne by the

prosecution and the effects of delay on the Government’s ability to meet those burdens,

substantial delay well may make reprosecution, even if permitted, unlikely.” 487 U.S. at 342. I

am also persuaded by the key fact in this case that I now reiterate: Defense counsel agreed to

exclude the period of post-arrest, pre-indictment time which gave rise to the violation of the



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Speedy Trial Act. Only a one-time failure to file by the Government prevented the continuance

from being entered.


       Order to follow.




Dated: ___4/30/2014____                                      /s/ Freda L. Wolfson      .
                                                        The Honorable Freda L. Wolfson
                                                          United States District Judge




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